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                          DECLARATION OF DAVID M. HARDY

        I, David M. Hardy, declare as follows:

        (1)    I am the Section Chief of the Record/Information Dissemination Section

("RIDS"), Information Management Division ("IMO"), in Winchester, Virginia. I have held this

position since August 1, 2002. Prior to my joining the Federal Bureau oflnvestigation ("FBI"),

from May 1, 2001 to July 31 , 2002, I was the Assistant Judge Advocate General of the Navy for

Civil Law. In that capacity, I had direct oversight of Freedom oflnformation Act ("FOIA")

policy, procedures, appeals, and litigation for the Navy. From October 1, 1980 to April 30,

2001 , I served as a Navy Judge Advocate at various commands and routinely worked with FOIA

matters. I am also an attorney who has been licensed to practice law in the State of Texas since

1980.

        (2)    In my official capacity as the Section Chief of RIDS , I supervise approximately

239 FBI employees, supported by approximately 72 contractors, who staff a total oftwelve (12)

FBI Headquarters (FBIHQ) units and two (2) field operational service center units whose

collective mission is to effectively plan, develop, direct, and manage responses to requests for

access to FBI records and information pursuant to the FOIA as amended by the OPEN

Government Act of2007, the OPEN FOIA Act of2009, and the FOIA Improvement Act of

2016; the Privacy Act of 1974; Executive Order 13,526; Presidential, Attorney General, and FBI

policies and procedures; judicial decisions; and Presidential and Congressional directives. The

statements contained in this declaration are based upon my personal knowledge, upon

information provided to me in my official capacity, and upon conclusions and determinations

reached and made in accordance therewith.
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        (3)      Due to the nature of my official duties, I am familiar with the procedures followed

by the FBI in responding to requests for information from its files pursuant to the provisions of

the FOIA, 5 U.S.C. § 552 and the Privacy Act, 5 U.S.C. § 552a. The declaration provides an

update on the status of the FBI's FOIA program, and supplements the prior Michael G. Seidel' s

declarations of March 19, March 27, and April 9, 2020, regarding RIDS ' s status during the on-

going COVID-19 crisis.

        (4)      The COVID-19 pandemic has no recent analogue. As of April 21 , 2020, there

were more than 802,000 confirmed cases of the virus in the United States and over 44,000

deaths; worldwide, there were over 2.6 million confirmed cases and more than 185,000 deaths. 1

        (5)      The Secretary of Health and Human Services declared COVID-19 as a public

health emergency effective January 27, 2020. 2 The World Health Organization publicly

characterized it as a pandemic on March 11 , 2020,3 and thereafter, on March 13, 2020, the

President declared a National Emergency in an effort to address the spread of COVID-19.4

        (6)      These declarations were followed by series of guidance and guidelines to slow the

spread of the virus by the President and the Centers for Disease Control (CDC) for the general

public; by the Office of Management and Budget (OMB) and the Office of Personnel

Management (OPM) with respect to Federal agencies and the Federal workforce; and state and

local governments for their communities.


1
 See https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html , last accessed Apr. 23, 2020;
https://www.covidtracker.com/, Johns Hopkins University Center for Systems Science and Engineering, last
accessed Apr. 23, 2020.
         2
           See https://www.hhs.gov/about/news/2020/01 /3 I /secretary-azar-declares-public-health-emergency-us-
2019-novel-coronavirus.htm l, last accessed Apr. 23 , 2020.
         3
           Centers for Disease Control and Prevention. "Corona virus Disease 2019 (COVID-19): Situation
Summary." www .cdc.gov, accessed March 13, 2019.

        4
         See https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-
conceming-novel-coronavirus-disease-covid-19-outbreak/ (last accessed Mar. 17, 2020).


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        (7)       The CDC recommends that people engage in social distancing by keeping at least

six feet from other people; not gathering in groups; and staying away from crowded places or

mass gatherings. 5 The CDC has also recommended that cloth face coverings be worn in public

settings where social distancing measures are difficult to maintain (e.g. , grocery stores and

pharmacies). 6

         (8)      By late March/early April, many states, including those where RIDS employees

reside, have issued Stay at Home orders directing their residents to self-isolate except to, inter

alia, engage in essential work/perform essential government functions .7 Schools were closed in

these jurisdictions.

         (9)      Guidance has also been issued to protect the Federal workforce, and by extension,

the American people. Following the CDC's guidance, OPM has recommended social distancing

and both OPM and OMB have issued guidance for agencies to implement maximum telework

flexibilities consistent with operational needs of the departments and agencies. 8


         5
           See, e. g., Centers for Disease Control " Interim Guidance for Businesses and Employers"
https://www.cdc.gov/coronavirus/2019-ncov/community/guidance-business-response.html (last accessed Mar. 17,
2020).

         See also Centers for Disease Control "Social Distancing, Quarantine, and Isolation,"
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/social-distancing.html , last accessed Apr. 23 ,
2020.

          6 See Centers for Disease Control "Use of Cloth Face Coverings to Help Slow the Spread of COVID-19,"

https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/diy-c 10th-face-coverings. htm 1, last accessed Apr.
23 , 2020.
          7
            Stay at Home orders from for Maryland, Virginia, Washington D.C., West Virginia, Montana, Idaho, and
Georgia. See https://govemor.maryland.gov/2020/03/30/as-covid-19-crisis-escalates-in-capital-region-govemor-
hogan-issues-stay-at-home-order-effective-tonight/; https://www.govemor.virginia.gov/newsroom/all-
releases/2020/march/headline-855702- en.html; https://coronavirus.dc.gov/stayhome; https://dhhr.wv.gov/COVID-
19/Pages/Govemor-Issues-Stay-at-Home-Order.aspx; https://dphhs.mt.gov/aboutus/news/2020/stayathomedirective;
https ://www.us news.com/news/best-states/ georgia/artic les/202 0-04-02/ georgia-i nfections-at-5-300-as-kemp-read ies-
stay-home-order; and https://coronavirus.idaho.gov/statewide-stay-home-order/, last accessed Apr. 23 , 2020.
          8
             OPM Memorandum "Coronavirus Disease 2019 (COVID-19); Additional Guidance" (March 7, 2020),
https://www.chcoc.gov/content/coronavirus-disease-20 l 9-covid-19-additional-guidance (last accessed Mar. I 7,
2020). See also OPM Memorandum "Updated Guidance on Telework Flexibilities in Response to Coronavirus"
(March 12, 2020), https://www.chcoc.gov/sites/default/files/M-20-l 3.pdf, last accessed Mar. 17, 2020.


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        (10)     The FBI continues to implement these guidelines to protect its employees as well

as their families and communities, and to ensure that it can continue to protect the American

people during this national emergency.

        (11)     RIDS has never before dealt with a crisis of this magnitude that has posed similar

widespread and immediate risks to the health and safety of every one of its employees, as well as

their families and communities, and indeed the populace of the United States and the world.

        (12)     The FBI supports the public's right to request and obtain agency records. But in

the midst of a deadly pandemic, the health and safety of FBI employees, their families, and their

communities is a paramount concern of agency decision makers who must make difficult

decisions about what agency functions are critical to the continuation of the FBI's mission of

ensuring the safety of the American people, investigating and interdicting criminal activities, and

protecting the national security.

        (13)     On March 17, 2020, RIDS temporarily halted its FOIA program in response to the

COVID-19 pandemic. 9 This decision was not made lightly. However, it was necessary and




        OMB Memorandum "U pdated Guidance for National Capital Region on Telework Flexibilities in
Response to Coronavirus" (March 15 , 2020), https://www.whitehouse.gov/wp-content/uploads/2020/03/M20- I 5-
Telework-Guidance-OMB.pdf, last accessed Mar. I 7, 2020.

         White House and CDC Guidelines on "Opening America Up Again,"
https://www.whitehouse.gov/openingamerica/#criteria, last accessed Apr. 23, 2020.

        OMB Memorandum "Aligning Federal Agency Operations with the National Guidelines for Opening Up
America Again," https://www.whitehouse.gov/wp-content/uploads/2020/04/M-20-23 .pdf, last accessed Apr. 23,
2020.

         OPM Frequently Asked Questions Regarding the Resumption ofNormal Workforce Operations,
https://www.opm.gov/policy-data-oversight/covid-I 9/, last accessed Apr. 23, 2020.


        9
          A limited number of employees have been permitted to rotate into the office during the temporary
suspension ofFOIA operations to handle any emergencies or critical issues arising during the period, to operate the
eFOIA portal, and to receive and route as appropriate mail and submissions to the eFOIA portal.

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proper because RIDS's Government Information Specialist (GIS) positions were rightly

designated as not mission-critical 10 and because they are not telework-capable positions.

        (14)      Like other intelligence/national security agencies, the vast majority of FBI work is

performed on classified systems. Significantly, the record system that the FBI primarily relies

upon for conducting FOIA searches - the Central Records System, which is accessed by the

FBI's SENTINEL case management system - is located on the FBI's SECRET-level classified

enclave, as is the FBI's FOIA Document Processing System (FDPS). Given the volume of

classified information that the FBI handles and maintains, operating in a classified enclave is

both necessary and efficient; classified systems can handle both classified and unclassified

materials whereas unclassified systems can only handle unclassified materials.

         ( 15)    Moreover, putting aside a host of logistical and procedural challenges to moving

unclassified records from the classified system for FOIA processing, the FBI does not currently

have the technology resources necessary to process unclassified records remotely, which at a

minimum would require the acquisition and configuration of laptops and remote connection

technology compatible with FBI Information Technology security requirements for hundreds of

employees. 11




           10
               A mission-critical position is one that's functions absolutely cannot be put on hold. RlDS management
concluded that the functions of a GIS position could temporarily be put on hold without risking the FBI being unable
to fulfill its primary mission as a law enforcement and national security agency.

         11
             Challenges include the identification ofrecords potentially suitable for reviewing on unclassified
systems, location of those records in FOPS, review of the records to ensure that they do not include classified or
sensitive information that cannot be placed on an unclassified system, extraction of the records, and transfer of those
records to an unclassified system, all of which would require employees to spend substantial hours in the office.
Moreover, once processed, the records would have to be moved back to the classified enclave to run required
security scans on them before they could be produced to a requester.

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         (16)     These are just some of the reasons why RIDS employees are not telework capable

and could not process FOIA requests remotely. Accordingly, upon designating GIS positions as

not mission-critical, RIDS had to temporarily halt FOIA processing.

         (17)     Since March 17, 2020, RIDS management has continually monitored the

situation. Based on its continued assessment and evolving circumstances, RIDS believes it can

safely resume FOIA operations in a limited fashion and will do so as of April 29, 2020.

         (18)     To maximize social distancing, no more than 1/3 of RIDS employees will be

permitted to work on any given day. 12 Accordingly, each unit will be split into three teams -

Team A, Team B, and Team C - to include supervisory GISs and unit chiefs. Team A will

return to work on April 29; Team B on April 30; and Team C on April 31. The rotation will

continue thereafter.

         ( 19)    Not all of RIDS' s workforce is available to return to work starting on April 29.

Specifically, approximately 15% of the workforce has self-identified as being higher risk for

severe illness - e.g., older adults or people with underlying medical conditions that increase their

risk. 13 These employees will remain on administrative leave at this time. Furthermore, any

employee who is ill must be fever and cough free for at least 24 hours before returning to work.

Finally, other employees may be unable to report to work because schools and day care facilities

are closed. RIDS is implementing available scheduling flexibilities to accommodate childcare

situations, in an effort to alleviate this burden to the extent possible.




         12 For perspective, RIDS's workspace is a converted big box store warehouse. It is an open floor plan with
modular workstations arranged in rows, where the dividers between the workstations in each row are roughly chest high .
Within a row, neighboring workstations are less than 6 apart. The social distancing plans being implemented will be
complemented by guidance about wearing face coverings, not utilizing/accessing other employee's workstations, and
cleaning workstations at the beginning and end of a workday.
         13
            The 15% is not equally spread across the workforce, and RIDS anticipates that certain units/functions
will be more adversely impacted.

                                                            6
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       (20)    The FBI's ability to resume FOIA operations is also expected to be impacted

based on the availability of other agency employees to assist in conducting searches and agency

subject matter experts to review records.

       (21)    In sum, while RIDS will be resuming FOIA operations on April 29, it will be in a

limited fashion given the limitations necessitated by social distancing and other health and safety

measures. RIDS management continues to monitor the situation with the goal of progressing

toward a full resumption of FOIA operations as quickly as possible while ensuring the health and

safety of RIDS employees, their families, and their communities.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed this 24th day of April, 2020.




                                              Record/Information Dissemination Se
                                              Information Management Division
                                              Federal Bureau of Investigation
                                              Winchester, Virginia




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